              Case:20-01947-jwb        Doc #:443 Filed: 03/05/2021       Page 1 of 59




                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                Chapter 11
    BARFLY VENTURES, LLC, et al, 1                              Case No. 20-01947-jwb
                                                                Hon. James W. Boyd
                      Debtors.                                  Jointly Administered
    ______________________________________/

    NOTICE OF FINAL APPLICATION OF JAFFE RAITT HEUER & WEISS, P.C. FOR
     COMPENSATION & REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees and expenses incurred for the period from November 1, 2020 through February
28, 2021, as listed below:

    Professional (name and address):               Jaffe Raitt Heuer & Weiss, P.C.
                                                   27777 Franklin, Suite 2500
                                                   Southfield, MI 48034

    Fees requested:                                $32,764.50

    Expenses requested:                            $109.20

    Fees and expenses previously allowed by        $117,864.29 in fees and $482.32 in expenses
    Court:                                         pursuant to the Interim Fee Order


PLEASE NOTE: The application is available for public review at the Clerk’s Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. – 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of


1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).


5143992.v1
            Case:20-01947-jwb        Doc #:443 Filed: 03/05/2021          Page 2 of 59




service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

                     ANY OBJECTION MUST BE TIMELY FILED WITH:

                                  United State Bankruptcy Court
                                       One Division North
                                  Grand Rapids, Michigan 49503

                 A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                                  Jaffe Raitt Heuer & Weiss, P.C.
                                         Attn: Paul R. Hage
                                    27777 Franklin, Suite 2500
                                    Southfield, Michigan 48034
                                        phage@jaffelaw.com


                                               Respectfully submitted by,

                                               JAFFE RAIT HEUER & WEISS, P.C.

                                               By:    /s/ Paul R. Hage
                                               Paul R. Hage (P70460)
                                               27777 Franklin Road, Suite 2500
                                               Southfield, MI 48034
                                               Phone: (248) 351-3000
                                               phage@jaffelaw.com

                                               -and-

                                               SUGAR FELSENTHAL GRAIS &
                                               HELSINGER, LLP

                                               Michael A. Brandess
                                               30 N. LaSalle Street, Suite 3000
                                               Chicago, IL 60602
                                               Phone: (312) 704-9400
                                               mbrandess@sfgh.com

                                               Counsel to the Official Committee of Unsecured
                                               Creditors of Barfly Ventures, LLC et al.

Dated: March 5, 2021.
                 Case:20-01947-jwb       Doc #:443 Filed: 03/05/2021             Page 3 of 59




                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                     Chapter 11
    BARFLY VENTURES, LLC, et al, 2                                   Case No. 20-01947-jwb
                                                                     Hon. James W. Boyd
                      Debtors.                                       Jointly Administered
    ______________________________________/

            FINAL APPLICATION OF JAFFE RAITT HEUER & WEISS, P.C.
            FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             Jaffe Raitt Heuer & Weiss, P.C. (“Jaffe”), counsel to the Official Committee of Unsecured

Creditors of Barfly Ventures, LLC (the “Committee”) appointed in the above-captioned chapter

11 cases, submits this final application (the “Fee Application”) for compensation for services

rendered and reimbursement of expenses incurred as counsel to the Committee including: (i) final

approval of $118,346.61 in fees and expenses previously approved under the Interim Fee Order

(as that term is defined below), and (ii) final approval of $32,873.70 in fees and expenses incurred

from November 1, 2020 through February 28, 2021 (the “Application Period”), pursuant to

sections 330 and 331 of the Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy

Procedure, Local Bankruptcy Rule 2016-2 and the Order Establishing Procedures for Interim




2
 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129),
50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
              Case:20-01947-jwb            Doc #:443 Filed: 03/05/2021                Page 4 of 59




Compensation and Reimbursement of Expenses of Professionals [Doc. No. 113] (the

“Compensation Order”). 3 In support of this Fee Application, Jaffe states:

                                             Jurisdiction & Venue

         1.       The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                                  Background

         2.       On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

         3.       The Office of the United States Trustee appointed the Committee on June 23, 2020

[Doc. No. 85].

         4.       The Court entered an order approving Jaffe’s employment as counsel for the

Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 232] (the “Employment

Order”).

         5.       The Court entered the Compensation Order on June 30, 2020. The Compensation

Order authorizes professionals retained in these cases, including Jaffe, to file with the Court and

serve monthly statements of fees and expenses on parties identified in the Compensation Order.




3
 The Bankruptcy Code is set forth in 11 U.S.C. §§ 101 et seq. Specific sections of the Bankruptcy Code are identified
herein as “section __.” Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as “Bankruptcy Rule __” and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as “Local Bankruptcy Rule __.”
            Case:20-01947-jwb        Doc #:443 Filed: 03/05/2021          Page 5 of 59




If no timely objections were filed, the Debtors were authorized to pay each professional 80% of

the fees and 100% of the expenses requested in each monthly statement.

       6.      On October 21, 2020, the Court entered the Amended Order (I) Authorizing the Sale

of Substantially All of the Debtors’ Assets Free and Clear of all Liens, Claims, Encumbrances,

and Other Interests, (II) Authorizing the Assumption and Assignment of Certain Executory

Contracts and Unencumbered Leases, and (III) Granting Related Relief [Doc No. 376] (the “Sale

Order”). Among other things, the Sale Order established a Wind-Down Budget that contemplated

payment in full of all professional fees anticipated to be incurred in these cases through conversion

subject to certain caps. See Sale Order, at ¶ 33. The Sale Order also provided that, to the extent

any funds allocated for payment of estate professionals’ fees were not utilized in full prior to

conversion of these cases, such funds would be returned to the Prepetition Secured Lenders. Id.

       7.      On December 30, 2020, the Court entered the Order Approving First Application

of Jaffe Raitt Heuer & Weiss, P.C. for Compensation & Reimbursement of Expenses as Counsel

to the Official Committee of Unsecured Creditors [Doc. No. 434] (“Interim Fee Order”) wherein

it granted Jaffe interim compensation in the amount of $118,346.61 pursuant to section 331 for

professional fees and expenses incurred in these cases through October 31, 2020.

                                   Request for Compensation

       8.      By this Fee Application, Jaffe seeks final approval of the fees and expenses allowed

and paid pursuant to the Interim Fee Order.

       9.      Additionally, in connection with professional services rendered to the Committee

in these cases during the Application Period, Jaffe seeks allowance of an administrative expense

pursuant to section 503(b)(2) in the amount of $32,873.70, which consists of compensation in the
              Case:20-01947-jwb         Doc #:443 Filed: 03/05/2021                 Page 6 of 59




amount of $32,764.50 and reimbursement of expenses incurred in the amount of $109.20. The

fees and expenses incurred by Jaffe during the Application Period are as follows:

                                                        Total Fees &       Fees & Expenses Paid    Outstanding
  Monthly Period         Fees           Expenses
                                                         Expenses         Per Compensation Order    Balance

  November 2020            $16,605.00           $4.50        $16,609.50                $5,974.79        $10,634.71
  December 2020             $8,100.00          $38.30         $8,138.30                    $0.00         $8,138.30
    January 2021            $3,564.00          $66.40         $3,630.40                    $0.00         $3,630.40
   February 2021            $4,495.50           $0.00         $4,495.50                    $0.00         $4,495.50

              Total:       $32,764.50         $109.20        $32,873.70                $5,974.79        $26,898.91


        10.        Attached to this Fee Application as Exhibits A-D, are detailed monthly statements

of the fees and expenses incurred during the Application Period (the “Monthly Statements”). The

time described in the Monthly Statements represents the actual amount of time spent or, in certain

instances, less than the actual amount of time spent by Jaffe attorneys and paralegals who rendered

the services described. Certain time reflected in the Monthly Statements has been either reduced

or “no-charged” by Jaffe to reduce the burden on the estates related to multiparty conferences or

to other services deemed in hindsight to warrant adjustment.

        11.        Paul R. Hage is the only Jaffe professional who worked on these matters during the

Application Period. At all times during the Application Period, his hourly rate was $405. These

rates are comparable to, or lower than, rates charged by other practitioners having the same level

of experience, expertise, and standing for similar services. Jaffe consistently and consciously made

every reasonable effort to represent the Committee in the most economical, efficient, and practical

manner possible.

        12.        Jaffe professionals expended significant effort during the Application Period to

ensure the successful administration of these chapter 11 cases. On behalf of the Committee, Jaffe

assisted with the preparation and prosecution of a motion to substantively consolidate the Debtors’

bankruptcy estates and to convert these cases to chapter 7 upon completion of certain identified
              Case:20-01947-jwb        Doc #:443 Filed: 03/05/2021           Page 7 of 59




milestones, investigated certain claims and causes of action belonging to the Debtors’ estates and

took efforts to preserve such claims and causes of action for the benefit of the chapter 7 trustee,

and addressed various other issues consistent with their duties as counsel for the Committee.

Accordingly, the time spent and expenses incurred during the Application Period were necessary

and appropriate under the circumstances.

        13.      The services rendered by Jaffe during the Application Period are grouped into

various categories, and the attorneys and paraprofessionals who rendered those services are

identified—along with the number of hours spent by each individual and the total compensation

sought for each category—in the attachments to this Fee Application. Brief descriptions of the

services rendered by Jaffe during the Application Period, by category, follow:

      A.      Asset Analysis

        Jaffe spent 9.6 hours analyzing and seeking to preserve potential causes of action belonging

to the Debtors’ estates which may be pursued by the chapter 7 trustee, once appointed. This

includes time spent negotiating and obtaining extensions of the deadline for the Committee or the

chapter 7 trustee to commence a non-dischargeability adversary proceeding in the chapter 11 case

of the Debtors’ affiliate, Mark Sellers; obtaining standing to file, and filing, claims in other affiliate

bankruptcy cases; and reviewing filings in such cases.

      B.      Asset Disposition

        Jaffe spent .3 hours addressing issues related to the Debtors’ sale transaction, including

review of the amended sale order as well as financing documents provided to the Committee

pursuant to the global settlement of the Committee’s sale objections.

      C.      Case Administration

        Jaffe spent 36.7 hours related to the administration of the chapter 11 cases during the
                Case:20-01947-jwb      Doc #:443 Filed: 03/05/2021          Page 8 of 59




Application Period. This category includes communicating with other estate professionals

regarding the status of the cases, evaluating conversion alternatives, preparing and prosecuting a

motion to substantively consolidate the Debtors’ bankruptcy estates and to convert these cases to

chapter 7 upon completion of certain identified milestones and evaluating various options for

generating a distribution to general unsecured creditors.

     D.         Claims

          Jaffe spent 7.7 hours during the Application Period reviewing the Debtors’ schedules of

assets and liabilities, reviewing claims filed in these chapter 11 cases and objecting to or otherwise

addressing such claims.

     E.         Committee Communications

          Jaffe spent .7 hours participating in meetings and otherwise communicating with

Committee members and/or their counsel regarding case strategy and status during the Application

Period.

     F.         Executory Contracts

          Jaffe spent .1 hours during the Application Period addressing issues related to the rejection

of executory contracts and unexpired leases in the chapter 11 cases.

     G.         Fee Applications/Objections

          Jaffe spent 30.4 hours during the Application Period preparing, reviewing and serving

monthly fee statements and interim and final fee applications submitted by Jaffe and other

Committee and estate professionals in these chapter 11 cases and addressing related issues.

          14.      Jaffe submits that the compensation sought under this Fee Application represents a

fair and reasonable amount for the services rendered during the Application Period, given the

criteria set forth in section 330 for evaluating applications for compensation, namely:
             Case:20-01947-jwb      Doc #:443 Filed: 03/05/2021          Page 9 of 59




            (A) the time spent on such services;
            (B) the rates charged for such services;
            (C) whether the services were necessary to the administration of, or beneficial
       at the time at which the service was rendered toward the completion of, a case under
       this title;
            (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
            (E) with respect to a professional person, whether the person is board certified
       or otherwise has demonstrated skill and experience in the bankruptcy field; and
            (F) whether the compensation is reasonable based on the customary
       compensation charged by comparably skilled practitioners in cases other than cases
       under this title.

11 U.S.C. § 330(a)(3).

       15.     Detailed itemizations of all expenses incurred during the Application Period are set

forth in the Monthly Statements. Expenses during the Application Period were incurred in the

following categories:

       A. Photocopying

       As set forth in the Monthly Statements, Jaffe incurred copying and printing charges totaling

$42.15 during the Application Period. Jaffe charges clients $0.10 per copy.

       B. PACER and CM/ECF Charges

       As set forth in the Monthly Statements, Jaffe incurred charges for use of the Court’s

PACER and CM/ECF system in the amount of $66.40 during the Application Period.

       C. Postage Charges

       As set forth in the Monthly Statements, Jaffe incurred postage charges totaling $0.65 during

the Application Period.

       16.     All expenses incurred by Jaffe in connection with its representation of the

Committee were ordinary and necessary expenses. All expenses billed to the estates were billed in

the same manner Jaffe bills its non-bankruptcy clients. Jaffe does not bill its clients or seek
             Case:20-01947-jwb        Doc #:443 Filed: 03/05/2021        Page 10 of 59




compensation in this Fee Application for certain overhead expenses, such as local and long-

distance telephone calls, secretarial services and facsimile transmissions. Such expenses are

factored into Jaffe’s hourly rates.

       17.      Because there may be other actions that need to be taken prior to conversion of

these cases in order to aid the soon to be appointed chapter 7 trustee in successfully maximizing

the recovery to unsecured creditors, the professionals retained by the Committee may need to

continue providing some services between the date of the filing of this Fee Application and the

conversion date. It would be problematic if the Committee’s professionals were obliged to cease

all work following the filing of this Fee Application.

       18.      Accordingly, no later than eight days before they submit proposed orders approving

their final fee applications, the Committee’s professionals propose to file supplemental fee

statements with any additional time or expenses incurred (each a “Supplemental Fee Statement”

and, collectively, the “Supplemental Fee Statements”) subsequent to the Application Period. The

Committee professionals will serve the Supplemental Fee Statements on the notice parties set forth

in the Compensation Order and such notice will provide that such parties shall have a period of

seven days to file any objections to the Supplemental Fee Statements. If no objections are timely

filed, then the fees and expenses set forth in the Supplemental Fee Statements will, subject to Court

approval, likewise be deemed allowed on a final basis.

       19.      The Committee’s professionals submit that the foregoing procedure is appropriate

in this case because: (i) the Committee professionals estimate that the aggregate fees and expenses

set forth on the Supplemental Fee Statements will be minimal, (ii) the funds to be utilized to pay

amounts requested in the Supplemental Fee Statements are capped by the Wind-Down Budget,

(iii) the funds to be utilized to pay amounts requested in the Supplemental Fee Statements will not
             Case:20-01947-jwb     Doc #:443 Filed: 03/05/2021          Page 11 of 59




impact the estate because, pursuant to the Sale Order, any unused funds will be returned to the

Prepetition Secured Lenders upon conversion of these cases, and (iv) any fees and expenses

exceeding that cap set forth in the Wind-Down Budget will be voluntarily disallowed.

       20.      In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, Jaffe will provide notice of this Fee Application through the

Court’s ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee for

the Western District of Michigan; and (c) parties who have filed a notice of appearance with the

Clerk of the Court and requested notice of filings in these cases. Additionally, Jaffe will provide

notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark A.

Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150

California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(iii) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: evoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michael.v.maggio@usdoj.gov; (v) Rayman & Knight, 141 E

Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com. Jaffe

submits that, in light of the nature of the relief requested, no other or further notice need be

provided.
             Case:20-01947-jwb      Doc #:443 Filed: 03/05/2021        Page 12 of 59




       WHEREFORE, Jaffe respectfully requests that this Court enter an order substantially in

the form attached as Exhibit E to this Fee Application:

       (a)      Allowing and approving, on a final basis, the fees and expenses allowed and paid

                pursuant to the Interim Fee Order.

       (b)      Allowing and approving, on a final basis, an administrative expense in the amount

                of $32,873.70, consisting of $32,764.50 for professional services rendered and

                $109.20 for actual and necessary expenses incurred by Jaffe during the Application

                Period as the Committee’s counsel;

       (c)      Allowing and approving, on a final basis, an administrative expense for the fees

                and expenses set forth on any Supplemental Fee Statement filed by Jaffe;

       (d)      Authorizing payment to Jaffe of all allowed fees and expenses not previously paid;

                and

       (e)      Providing Jaffe with any additional relief as may be appropriate under the

                circumstances.
          Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021     Page 13 of 59




                                     Respectfully submitted by,

Dated: March 5, 2021                 JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     phage@jaffelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbrandess@sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021     Page 14 of 59




                         Exhibit A
            (November 2020 Monthly Fee Statement)
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 15 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 16 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 17 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 18 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 19 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 20 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 21 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 22 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 23 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 24 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 25 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 26 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 27 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 28 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 29 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021     Page 30 of 59




                          Exhibit B
            (December 2020 Monthly Fee Statement)
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 31 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 32 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 33 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 34 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 35 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 36 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 37 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 38 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 39 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 40 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 41 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021     Page 42 of 59




                           Exhibit C
             (January 2021 Monthly Fee Statement)
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 43 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 44 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 45 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 46 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 47 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 48 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 49 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 50 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021     Page 51 of 59




                          Exhibit D
            (February 2021 Monthly Fee Statement)
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 52 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 53 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 54 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 55 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 56 of 59
Case:20-01947-jwb   Doc #:443 Filed: 03/05/2021   Page 57 of 59




                           Exhibit E
                       (Proposed Order)
                  Case:20-01947-jwb      Doc #:443 Filed: 03/05/2021       Page 58 of 59




                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                 Chapter 11
    BARFLY VENTURES, LLC, et al, 4                               Case No. 20-01947-jwb
                                                                 Hon. James W. Boyd
                      Debtors.                                   Jointly Administered
    ______________________________________/

    ORDER APPROVING FINAL APPLICATION OF JAFFE RAITT HEUER & WEISS,
        P.C. FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             This matter having come before the Court on the Final Application of Jaffe Raitt Heuer &

Weiss, P.C. for Compensation & Reimbursement of Expenses as Counsel to the Official Committee

of Unsecured Creditors (the “Fee Application”) 5 filed by Jaffe Raitt Heuer & Weiss, P.C.

(“Jaffe”); notice of the Fee Application being sufficient and consistent with the Compensation

Order; and no objections to the Fee Application having been filed:

             IT IS HEREBY ORDERED:

             1.      The Fee Application is granted.

             2.      The fees and expenses allowed and paid pursuant to the Interim Fee Order are

allowed and approved on a final basis.




4
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
5
 Capitalized terms not otherwise defined herein shall have the meaning given to them in the Fee
Application.
            Case:20-01947-jwb      Doc #:443 Filed: 03/05/2021       Page 59 of 59




       3.      Jaffe is granted an allowed administrative expense under section 503(b)(2) for

professional fees and expenses incurred during the Application Period in the amount of

$32,764.50.

       4.      The fees and expenses set forth on the Supplemental Fee Statement filed by Jaffe

are allowed and approved on a final basis.

       5.      The Debtors are authorized and directed to promptly pay to Jaffe the outstanding

balance of the fees and expenses allowed under this Order.

       6.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                       END OF ORDER


Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Paul R. Hage (P70460)
27777 Franklin, Suite 2500
Southfield, Michigan 48034
Phone: (248) 351-3000
phage@jaffelaw.com

Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
